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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

UNITED STATES OF AMERICA                       §
                                               §
V.                                             §            CRIMINAL NO. 6:06-CR-50-001
                                               §
TERRY SMITH                                    §

                                             ORDER

       The above entitled and numbered criminal action was referred to United States Magistrate

Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of the Magistrate Judge which

contains his proposed findings of fact and recommendations for the disposition of such action has
   .
been presented for consideration (Doc. No. 45). Plaintiff has filed objections (Doc. No. 49) to the

Report and Recommendations; however the Court is of the opinion that the findings and conclusions

of the Magistrate Judge are correct.

        Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as the

findings and conclusions of this Court.


      SIGNED this 11st day of September, 2006.




                                                        ____________________________________
                                                        MICHAEL H. SCHNEIDER
                                                        UNITED STATES DISTRICT JUDGE
